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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                           Civil Minutes


 Date: September 7, 2023                                                Judge: Hon. James Donato

 Time: 38 Minutes

 Cases:          3:21-md-02981-JD In re Google Play Store Antitrust Litigation
                 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
                 3:20-cv-05761-JD In re Google Play Consumer Antitrust Litigation
                 3:21-cv-05227-JD State of Utah et al v. Google LLC et al
                 3:22-cv-02746-JD Match Group, LLC et al v. Google LLC et al

 Attorney(s) for Plaintiff(s):     Gary Bornstein/Hae Sung Nam/Karma Giulianelli/
                                   Doug Dixon/Brendan Glackin
 Attorney(s) for Defendant(s):     Brian Rocca/Michelle Chiu/Yonatan Even/
                                   Glenn Pomerantz/Jonathan Kravis

 Court Reporter: Ana Dub

 Deputy Clerk: Lisa Clark

                                          PROCEEDINGS

Status Conference -- Held

                                      NOTES AND ORDERS

The Court discusses with the parties the status of the tentative settlement agreement reached in
the consumers’ and States’ actions. See Dkt. No. 596. The request to suspend pre-trial deadlines
and vacate the trial date is denied, with the exception of proposed final jury instructions, which
need not be prepared in the consumers’ and States’ actions pending further order. The parties are
advised that, in the absence of a final, binding settlement agreement, the parties in all actions will
proceed with a jury trial on November 6, 2023. A further status conference is set for October 12,
2023, at 10:00 a.m.

For the Riot Games discovery issue raised in the parties’ joint statement, Dkt. No. 595 at 14-20,
Epic and Google are directed to file a joint discovery dispute letter by September 15, 2023, if
further assistance from the Court is needed.

Plaintiffs’ motion to bifurcate defendants’ counterclaims against Epic and Match, Dkt. No. 548,
is denied. The States’ motion for approval of notice of pendency of parens patriae claims, Dkt.

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No. 546, is terminated in light of the new developments and the possibility that the States may be
amending their claims.

For Google, Epic, and the Match Group plaintiffs, the Court orders that an in-person settlement
meeting must be held by September 22, 2023. Each party will be represented by a principal with
full settlement authority. The parties may request a short extension of the deadline for the
meeting if essential. Principals from all three party groups must participate in the first meeting
and discuss issues common to Epic’s and the Match Group plaintiffs’ cases, but the parties may
have separate follow-on meetings for issues unique to each case.

For the chats remedy issue, see Dkt. No. 595 at 20-23, the Court approves the plaintiffs’ proposal
for briefing, see id. at 22.

If the consumers’ and States’ cases settle, the remaining parties should discuss a reduction of
trial hours. The Court expects that Epic and Match will coordinate on their presentation of
expert witnesses, and that the experts will present testimony on no more than two relevant
markets.




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